
USCA1 Opinion

	










          July 14, 1995
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-2131

                               STEPHEN DeCOSTA, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                               PAULINE CHABOT, ET AL.,

                                Defendants, Appellees.

                                 ____________________



                                     ERRATA SHEET
                                     ERRATA SHEET



            The  opinion of  this court  issued  on July  11, 1995  is  hereby
        amended as follows:

            On the  cover  sheet:   "and  Schwarzer,*  Senior Circuit  Judge."
                                                       _____________________
        should be changed to "and Schwarzer," Senior District Judge."
                                              _____________________









































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-2131

                               STEPHEN DeCOSTA, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                               PAULINE CHABOT, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Steven J. McAuliffe, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                        and Schwarzer,* Senior District Judge.
                                        _____________________

                                 ____________________

            Thomas  N. O'Connor  with whom  George  P.  Dickson and  Dickson &amp;
            ___________________             ___________________      _________
        Associates, P.C. were on brief for appellants.
        ________________
            Ann  Fitzpatrick  Larney, Assistant  Attorney  General, with  whom
            ________________________
        Jeffrey R. Howard, Attorney General, was on brief for appellees.
        _________________


                                 ____________________

                                    July 11, 1995
                                 ____________________
        ___________________

        * Of the Northern District of California, sitting by designation.



















                 Per Curiam.  Stephen and Joann  DeCosta filed suit under
                 __________

            42 U.S.C.    1983 against  various state and  local officials

            claiming an  unconstitutional interference with  their family

            affairs  caused  by   an  allegedly  unfounded   child  abuse

            investigation  primarily conducted by  the state authorities.

            After  dismissing the  claims against  three defendants,  the

            district  court granted  summary judgment  for all  remaining

            defendants, concluding that the plaintiffs had not asserted a

            constitutional   deprivation   and,   in  any   event,   that

            defendants' actions  were protected by  qualified or absolute

            immunity.

                 On  appeal, the  plaintiffs have  abandoned most  of the

            claims and theories  they pressed below.   The central  issue

            remaining  is whether  the  district  court properly  granted

            summary judgment  for those who  directed or assisted  in the

            state's inquiry, most importantly Pauline Chabot,  the social

            worker  who  headed the  DeCosta  investigation  for the  New

            Hampshire  Division  for Children  and  Youth Services  ("the

            division").  Although  the DeCostas do  not purport to  limit

            their appeal  to particular defendants, they  have chosen not

            to brief other issues  (e.g., improper searches, liability of
                                    ____

            supervisors) necessary to  impose liability on various  other

            defendants.  

                 The district judge has written a thorough opinion on the

            legal issues, and  in view  of our disposition,  there is  no



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            need  to discuss  the  facts at  length.    The gist  of  the

            DeCostas'  case  is  that  Chabot initiated  and  pursued  an

            investigation of  the DeCostas based solely  on their liberal

            but permissible use of corporal punishment in the rearing  of

            their children and that  she pursued the case even  after the

            evidence allegedly showed that there was no substance  to the

            charge  of abuse.    As their  constitutional violation,  the

            DeCostas  contend that  Chabot's actions  deprived them  of a

            federal  liberty interest  in family  integrity and  a state-

            created  liberty   interest  to  be   free  from  unwarranted

            governmental interference in family matters.

                 This  court has  held that  there is  no "constitutional

            right to be free from child abuse investigations."  Watterson
                                                                _________

            v. Page,  987 F.2d 1, 8  (1st Cir. 1993).   And the DeCostas'
               ____

            alternative attempt to base a federal constitutional claim on

            a state-created  liberty interest,  see Hewitt v.  Helms, 459
              _____                             ___ ______     _____

            U.S. 460, 469 (1983),  appears to find little support  in the

            New Hampshire statutes they  cite.  The Child Protection  Act

            primarily  safeguards children,  not parents,  N.H.R.S.A., c.

            169-C, and  the statute  authorizing limited use  of corporal

            punishment  is  primarily  directed  to  creating  a  limited

            defense  to  legal proceedings.    N.H.R.S.A.    627:b.   See
                                                                      ___

            generally  Bowser v.  Vose, 968  F.2d 105,  106-09 (1st  Cir.
            _________  ______     ____

            1992).





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                 In all events, we have no reason to resolve any abstract

            legal  issues on  this appeal.   Even if the  DeCostas have a

            constitutional interest against unreasonable  state oversight

            or interference  in family matters, it is  quite evident from

            the record  that the inquiry  conducted by Chabot  and others

            was  both  permissible  and   amply  protected  by  qualified

            immunity.   The division received  a complaint of child abuse

            from a seemingly credible source, the children's grandmother.

            The grandmother lived in an apartment in the DeCostas' house.

            The grandmother spoke to her doctor,  and the doctor reported

            the matter  to the  state.  The  grandmother was  interviewed

            extensively,  and  provided  a detailed  account,  before the

            children  were brought  in for  examination and  questioning.

            When questioned, the children's answers  provided substantial

            support for their grandmother's concerns.

                 Once  the children were removed  from the home, a prompt

            judicial hearing was provided.   Thereafter the case remained

            continuously  under  the  supervision  of  the  state  court.

            During its  supervision, the  court ordered the  DeCostas and

            their  children  to  undergo  counseling,  and  when  it  was

            satisfied  that counseling  had  been  successful, the  court

            gradually returned the children to the home.  Ultimately, the

            court  decided its  supervision was  no longer  necessary and

            closed the  case, without any definitive  findings on whether

            abuse had occurred.      What is reasonable in relation to an



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            investigation depends  on reasonable  belief; and that  is as

            true in a case of suspected child abuse, e.g., Donald v. Polk
                                                     ____  ______    ____

            County, 836  F.2d 376, 379-81  (7th Cir.  1988), as it  is in
            ______

            conventional police decisions involving probable cause, e.g.,
                                                                    ____

            Rivera v.  Murphy, 979  F.2d 259, 263  (1st Cir. 1992).   The
            ______     ______

            reports  given  to  Chabot  and  others  indicated  that  the

            children  had been  severely  beaten with  belts, sticks  and

            other implements, had been bruised and occasionally bloodied,

            and that this was a repeated and persistent pattern.  Despite

            the general statements to  the contrary by DeCostas' counsel,

            there  is  no indication  that  the investigators  thereafter

            received evidence that persuasively negated these charges.

                 It  is true that on reading the DeCostas' brief, one has

            the  impression that  a medical  examination of  the children

            disproved the  charges of abuse  and that  the DeCostas  were

            eventually vindicated by the state court.  Neither impression

            is accurate.   While only one child  still bore the marks  of

            injury  at the  time  of  the  examination,  nothing  in  the

            examination   disproved  the  grandmother's  story  that  the

            children  were  routinely  beaten   for  trifles  with  great

            severity.    As  for  the state  court's  action,  the  court

            returned  the  children  to   the  DeCosta  home  only  after

            counseling  over a substantial  period had proved successful;

            the court did not find that no abuse had occurred.





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                 This  is  not a  close case.    Although the  matter was

            decided on  summary  judgment,  the  facts  as  to  what  the

            investigators were  told by the grandmother  and the children

            are apparently not in dispute, and our conclusion that  those

            facts provided ample  cause for investigation is  a matter of

            legal  characterization.   The  DeCostas' opening  brief--not

            signed by counsel who argued the appeal--is open to criticism

            for  presenting   a  picture   of  the  evidence   given  the

            investigators  and  of  what  happened  in  the  state  court

            proceedings that appears to us to be materially incomplete.

                 Affirmed.
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